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      In The United States Court of Federal Claims
                                             No. 09-152L

                                      (Filed: March 4, 2011)
                                            __________

 CAROLINA PLATING WORKS, INC.,
 Individually for Itself and As Representatives
 of a Class of Similarly Situated Persons,

                               Plaintiffs,

                        v.

 THE UNITED STATES,

                               Defendant.

                                              _________

                                               ORDER
                                              _________

    On March 2, 2011, the parties filed a joint status report proposing a briefing schedule.
Accordingly, the court hereby adopts the following schedule:

    1.         On or before March 25, 2011, plaintiffs shall file a motion to
               determine proper measure of just compensation;

    2.         On or before April 15, 2011, defendant shall file its response and a
               cross-motion;

    3.         On or before April 29, 2011, plaintiffs shall file their reply and a
               response to defendant’s cross-motion; and

    4.         On or before May 13, 2011, defendant shall file a reply to its cross-
               motion.

         IT IS SO ORDERED.


                                                              s/Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
